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                           UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


 Kane, et al.


                Plaintiffs,

                         vs.
                                                  DECLARATION OF

 De Blasio, et al.                                ROBERT GLADDING

                Defendants.
                                                  Civil Action No. 1:21-cv-07863



STATE OF NEW YORK                        )
                                         ) ss.:

COUNTY OF NEW YORK                       )



Robert Gladding, declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

the following is true:


   1. I am Robert Gladding.

   2. I am a plaintiff in this lawsuit

   3. I have been teaching for 19 years in the NYC public school system. I began teaching in
      2002 in response to the 9/11 tragedy in 2001. I sincerely believe I received a calling from
      God to do this work.

   4. I have sincere religious objections to the COVID-19 vaccine

   5. On Friday September 17th I timely submitted a valid religious exemption letter and letter
      from an ordained minister through the system.

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6. On Sunday September 19th I received an email stating that my application had failed to
   meet the criteria for a religious based accommodation, but not detailing any criteria that it
   failed to meet.

7. I timely appealed on Monday, September 20th.

8. I had a zoom arbitration hearing on Thursday September 23rd at 3:30 PM with a DOE
   representative, a UFT representative, and the arbitrator Julie Torrey. They did not say on
   what basis my original letter had been denied. They invited me to make a statement. I
   made an emotional statement about my sincerely held religious beliefs, adding to what
   was already stated in the letter. There were few questions, and only a short back and forth
   between the DOE and UFT. The UFT objected that I had not been given any criteria for
   my denial, and hence could not prepare for this hearing. The arbitrator noted this.

9. On Saturday September 25th, I received an email with my one page "Award" which
   stated only "Appellant failed to establish entitlement to a religious exemption based upon
   evidence submitted and the testimony presented at the hearing." There was no elaboration
   whatsoever on the basis of the denial, just as with the initial denial.

10. However, on Monday September 27th at 6:20 PM I received an email stating that I was
    still “pending”. The email reads as follows: ”According to our records, you have a
    pending appeal with the Arbitrators on your application for a COVID-19 Vaccine
    Mandate Related Exemption or Accommodation. Until a specific date for implementation
    of the vaccine mandate is announced, the current vaccine or weekly testing mandate
    remains in place, and you must continue to report to your regular assignment and
    work location until further notice. If you work at a school and need to be tested, you
    will likely be able to do so as part of the weekly testing occurring in your school
    building. We will continue to share information as it becomes available. If/when the
    vaccine mandate goes into effect, if you have a decision from the Arbitrators granting
    your appeal or if your appeal remains pending at that time, you will be advised on your
    next step for where to report.”

11. Continuation of #10: On Friday October 1st at 9:51 PM I received a second similar email
    stating: “According to our records, you have a pending appeal on your application for a
    medical or religious exemption to the COVID-19 Vaccine mandate. While this appeal is
    pending, you are considered eligible to be treated as exempt for the purposes of the
    vaccine mandate which will go into effect as of Monday, October 4. However, as that
    status will change, you should be regularly checking your DOE email (including this
    weekend) for notification from the Arbitrator and be aware of the following: While your
    appeal is pending, and you remain unvaccinated, you will not be put on a Leave Without
    Pay status. However, you will not be permitted to enter a school building. If your usual
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   place of work is in a school, you will be expected during this time to temporarily work
   offsite and support your school to cover your work in your absence and perform related
   activities. You should be available during regular work hours and check-in with your
   school’s payroll secretary for timekeeping purposes. If your usual place of work is not in
   a school building, you should continue to report to your regular location and
   assignment. If your appeal is granted (approved) and you remain unvaccinated, you will
   not be put on a Leave Without Pay status. If your usual place of work is in a school, you
   will receive a new assignment outside of a school building (e.g. administrative offices) to
   perform academic or administrative work determined by the DOE.A notification of this
   assignment may take a few days and in the interim you should temporarily work offsite
   to transition your work and support related activities. During this time, you should be
   available during regular work hours and check-in with your school’s payroll secretary for
   timekeeping purposes. If your usual place of work is not in a school building, you should
   continue to report to your regular location and assignment unless notified otherwise. If
   your appeal is denied, and you remain unvaccinated, you will be put on a Leave Without
   Pay, with benefits. If you are vaccinated and upload your information to the Vaccination
   Portal then you may be restored to active pay status.”

12. I cannot get this vaccine due to my sincerely held religious objections.

13. I do not believe I am a threat to anyone else as a result of my vaccination status.

14. I think that I had COVID very early on in March 2020 just before the lockdown started - I
    was laid up in bed, feverish, respiratory problems for several days. This predates any
    form of COVID testing.

15. I am a dedicated teacher and just want to be able to teach my students without violating
    my deeply held religious beliefs.

16. I have already made strong connections with all five classes that I teach. It is very hard to
    put into words the level of trust, depth and critical thinking that my classroom
    environment inspires. My two full sections of 11thgrade AP Literature and Composition
    have already been deeply exploring the nuances of freedom based on their Summer
    reading of LeGuin’s THE DISPOSSESSED and are ready to pair that with discussions
    about the systemic problem of mass incarceration in our country based on Angela
    Davis’s ARE PRISONS OBSOLETE? This class has become increasingly popular and
    expanded to two full sections over the years that I have been teaching it, with students
    developing intuitive, highly personal writing voices that win them high scores on the AP
    Exams, particularly in the essay portion, and set them on a path to critical thinking, and
    trusting their voice and experiences for the rest of their lives. I have a section of freshmen


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   for Global Literature who are just adapting to the school and have already become able to
   freely express opinions and let out their personalities, even from behind the masks. I have
   a section of American Literature, that has inspired an honest discussion of the challenging
   work of Ta Nehesi Coates, as we have launched into our Examining Privilege unit. If I
   am taken out of the school, my long-time filmmaking and acting class will be dissolved
   or turned into a history through film class. It has four returning students who loved it so
   much last year that they wanted to take it again and keep producing their own short
   films. The impact of removing me from these classes will be profound to so many
   11thgraders – heavily compromising what is one of their most focused and exciting years
   of high school. Replacing a teacher who has developed a layered curriculum over many
   years of reflective practice is not possible. It will also damage the trust that the 9thgraders
   feel towards our finally integrated school. I am also a freshman advisor. I volunteered to
   teach 9thgrade again when the District 2 preference was dissolved – as a former NYC
   Teaching Fellow I wanted to be there for our new, more diverse population from all five
   boroughs.

17. The most tragic piece of how this would affect me personally if the court does not
    intervene is that I won't be able to continue in person with the students with whom I have
    developed a relationship or teach the vital courses that have evolved over years of
    practice and reflection. I am many students' favorite teacher – as reflected in school
    yearbooks where I was voted “favorite teacher” many times. Seniors come to see me in
    the year following taking my class to tell me how much they miss me and our
    intellectually open classroom space. This is because these courses and how they impact
    students feels personal to them, because I make room for them to trust themselves. My
    curricula are not transferable to another teacher; they are finely tuned vehicles for
    learning, fluid and structured at the same time. In my own life, I would spiritually miss
    the course's impact, and the students pushing these courses forward to new levels. I will
    miss being IN the classroom, being part of that intellectual, emotional and spiritual
    exchange that is the living entity that is a shared classroom space. Secondly, this would
    affect my family's ability to pay rent on our apartment and buy food. It would put us in a
    difficult and unsustainable financial situation.

18. It is in my perspective criminal that simply not complying with a medical procedure that
    is not part of my contract, could create this outcome. If allowed to stand, I am very
    concerned this mandate would prove how not free we really are as a city and country.
    This would break the trust of many in our systems, in authority figures who should be
    equanimous, not divisive and dictatorial.

19. I pray that the court will intervene to truly serve my students by allowing me to continue
    in my vocation as a teacher in the classroom.


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